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                        UNITED STATES DISTRICT COURT FOR
                            THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    )

              v.                            )       CR. NO. 21-70 (ABJ)

SAMUEL CAMARGO                              )



                   NOTICE REGARDING POSTPONEMENT OF TRIAL


       Samuel Camargo, through undersigned counsel, respectfully notifies this Honorable

Court, pursuant to the Court’s Minute Order on August 17, 2023, of his intent to seek a

postponement of the trial, as a result of the pending Superseding Indictment. The government’s

notice regarding the pending Superseding Indictment was filed at ECF Nos. 73 and 74.



                                            Respectfully Submitted,

                                            A.J. KRAMER
                                            FEDERAL PUBLIC DEFENDER
                                            ____/s/________________
                                            UBONG E. AKPAN
                                            Assistant Federal Public Defender
                                            625 Indiana Ave., N.W.
                                            Washington, D.C. 20004
                                            (202) 208-7500
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                               CERTIFICATE OF SERVICE
       I, Ubong E. Akpan, certify that on this 22nd day of August 2023, I caused a copy of the

foregoing Notice to be filed through the Electronic Case Filing (“ECF”) system and served a

copy on counsel for the government through the ECF.

                                                       /s/_________________
                                            UBONG E. AKPAN
                                            Assistant Federal Public Defender
